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 1                         IN THE UNITED STATES DISTRICT COURT

 2                            FOR THE DISTRICT OF PUERTO RICO

 3

 4    UNITED STATES OF AMERICA,

 5    Plaintiff,

 6         v.                                             CASE NO. 99-1435 (GAG-MEL)

 7    COMMONWEALTH OF PUERTO RICO,
      et al.,
 8
      Defendants.
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10                                     DSPDI BUDGET ORDER

11          Consistent with the Commonwealth’s Unopposed Motion on the Use of DSPDI Funds and

12   the Court’s Civil Contempt Order at Docket No. 2664, the Commonwealth shall comply with the

13   following:

14          1. The Commonwealth shall ensure each fiscal year that the DSPDI budget is adequate to
               enable the Commonwealth to develop and implement needed remedial measures to
15             ensure compliance with the JCAP and existing Court orders in this case and to meet
               the needs of participants with developmental disabilities in the Commonwealth. See
16             e.g. Order, Apr. 22, 2019 (Docket No. 2443); Order, Apr. 30, 2013 (Docket No. 1368).

17          2. The Court takes judicial notice that the current budget for the DSPDI Program is
               $40.1M for FY 2019-20. The present DSPDI budget of $40.1M shall be maintained
18             each fiscal year going forward, unless a different amount is otherwise ordered by the
               Court.
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            3. In addition to the $40.1M annual DSPDI budget, the Commonwealth shall increase the
20             DSPDI budget by $5M in each of the next four fiscal years – FY 2020-21, FY 2021-
               22, FY 2022-23, and FY2023-24 – such that the DSPDI budget each of these fiscal
21             years is $45.1M. This additional $5M in funding per year over the next four fiscal years
               accounts for the $20M the Court specified in its contempt order (Docket No. 2664).
22             The Commonwealth shall certify to the Court at the beginning of each of the four fiscal
               years that the DSPDI budget is at least $45.1M for said fiscal year.
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 1          4. The Commonwealth shall take effective steps throughout each fiscal year to exclusively
               utilize the $45.1M in DSPDI funding to provide protections, services, and supports for
 2             participants with developmental disabilities to ensure their health, safety, and welfare
               consistent with the JCAP and other Court orders in this case. To that end, the
 3             Commonwealth shall maintain adequate records of the utilization of the DSPDI funds
               which shall be available for review by the Court, the independent auditor, the office of
 4             the JCC, and the United States, as necessary.

 5          The Commonwealth represents that it has agreed to the terms of this order and has pledged

 6   to comply with it. Given this, the Court has vacated its finding of civil contempt at Docket No.

 7   2664 and the directive for a 10-year retrospective audit of DSPDI-budgeted funds. Should the

 8   Commonwealth fail to adhere to the terms of this order at any time over the next four fiscal years,

 9   the Court may reinstate its contempt finding and may issue other orders as appropriate.

10          CPA Diana Alcaraz, court-appointed independent auditor, will continue to prospectively

11   audit DSPDI funds. The parties, JCC and independent auditor shall agree, by March 25, 2020, to

12   the specific budget required for her work. The same shall be deposited with the Clerk of Court in

13   addition to the JCC budget, both on or before July 1, 2020.

14          SO ORDERED.
            In San Juan, Puerto Rico this 9th day of March, 2020.
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16                                                       s/ Gustavo A. Gelpí
                                                         GUSTAVO A. GELPÍ
17                                                     United States District Judge

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